17

18

19

20

21

22

23

24

25

26

27

28

Case 1:21-cr-00392-RM Document 23 Filed 03/01/22 USDC Colorado Page 1of5

DANIEL R. PERLMAN ESQ (SBN 236278)
DANIEL PERLMAN LAW

1601 Vine Street, Suite 600, Hollywood, CA 90028
310-557-1700

daniel@danielperlmanlaw.com

Attorney for DANIEL STONEBARGER

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLORADO

UNITED STATES OF AMERICA, Case No.: 1:21-cr-00392-RM-001
Plaintiff,
vs. EX PARTE APPLICATION TO PERMIT
DEFENDANT TO DEPART THE UNITED
DANIEL STONEBARGER, STATES TEMPORARILY;
DECLARATION OF COUNSEL;
Defendant [PROPOSED] ORDER

 

 

 

TO: THE COURT AND CLERK OF THE COURT, ALL PARTIES, AND

THEIR ATTORNEYS OF RECORD;

Defendant, Daniel Stonebarger, by and through his counsel of record Daniel R.
Perlman hereby offer this stipulation to allow his travel to Los Algodones, Mexico to complete
necessary dental work prior to his incarceration between March 8 and March 11, 2022. The
United States Attorney, by and through his representative AUSA Ms. Martha Paluch, do not
object so long as the Pre-Trial Services Officer does not object.

1. Defendant Mr. Stonebarger pleaded guilty on January 27, 2022.

2. Sentencing for Defendant Daniel Stonebarger is currently scheduled to take

place on April 22, 2022.

 
15

16

17

18

19

20

2)

22

23

24

25

26

27

28

 

 

Case 1:21-cr-00392-RM Document 23 Filed 03/01/22 USDC Colorado Page 2 of5

>

Defendant is a United State citizen.

Defendant is under the continuing care of his doctor who is in mid-process in
treating Mr. Stonebarger. The proposed trip would allow his care provider to
complete the work in process.

As such, with no objection from the United States, we ask this court to sign
the attached order allowing the Defendant, Mr. Stonebarger to travel out of the

United States between the 8" and 11" of March, 2022.

In order to effectuate this temporary departure from the United States, Mr.
Stonebarger will need his United States Passport. The government has
informed me that, if the Court grants the proposed order, Mr. Stonebarger can
pick up the passport in Denver where he previously surrendered it.

Defendant will! travel as follows:

 

March 8

American Airline Flight 1404
Departing Denver at 5:40 a.m.
Arriving Phoenix at 7:45 a.m.

American Airlines Flight 5750
Departing Phoenix at 8:26 a.m.
Arriving Yuma at 9:27 a.m.

Crossing the US-Mexico border at Los Algodones and checking into his hotel
for three nights.

Defendant will reside at:

California Comfort Suites

21970 Vicente Guerrero

Los Algodones, BCN, Mexico 21970

Defendant’s first dental appointment begins at 12pm on March 8, 2022 at:
Cosmetic & Implant Dentistry Center

Dr Jose Valenzuela, DDS

1002 2™ Street Los Algodones, BCN, Mexico 21970
10

1

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cr-00392-RM Document 23° Filed 03/01/22 USDC Colorado Page 3 of5

10.

11.

12.

13.

Defendant will complete his appointments and necessary recovery,
completing his return to the U.S. and Denver in the reverse on March 11, 2022
as follows:

American Airlines Flight 5750

Departing Yuma at 9:58 a.m.

Arriving Phoenix at 10:55 a.m.

Departing Phoenix at 2:15 p.m.
Arriving Denver at 4:04 p.m.

Defendant, if instructed, will check in with the United States Consulate or
other representative the same day he arrives.

Defendant will submit to the brief, but necessary medical services required
and be prepared to return to the US by the reverse process on March 11, 2022.
Should any delay or problems arise, Defendant will immediately contact me,
Pre-Trial Services and any other contact or representative the court or the
United States requests.

Upon his return to the US, Defendant will surrender all travel documents that
had been supplied to him for purposes of travel and return to the District of
Colorado forthwith.

By this application, the defense moves without objection by The Government
or Pretrial Services that the court to order that The Government make
defendant’s passport temporarily available to defendant, as described above,
and that defendant be permitted to depart as described above.

Defendant requests this order based upon facts stated herein and in the

attached Declaration of counsel, which counsel for Defendant believes

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 1:21-cr-00392-RM Document 23 Filed 03/01/22 USDC Colorado Page 4 of 5

constitutes unusual and extenuating circumstances warranting good cause for
such an order.
14. Defense Counsel believes that failure to grant the request will cause extreme

and irreversible physical harm to Mr. Stonebarger.

IT IS SO STIPULATED

a] ( (zz

 

 

 

DANIEL PERLMAN Date

Attorney for Defendant Daniel Stonebarger

DECLARATION OF DANIEL R. PERLMAN IN SUPPORT OF

REQUEST FOR ORDER

 
10

11

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cr-00392-RM Document 23 Filed 03/01/22 USDC Colorado Page 5 of 5

I, Daniel R. Perlman, do hereby declare:

1. 1am counsel for the defendant Daniel Stonebarger in this matter.
2. The requested order is necessary for the following reasons:

3. Mr. Stonebarger has been cooperative and attempted to aid the government as well as accepted
responsibility for his actions.

4. Mr. Stonebarger has already made previous visits to Mexico during the pendency of this case
and has without exception returned without issue.

6. Without completing this necessary dental work, Mr. Stonebarger could suffer permanent and
debilitating harm.

7. Mr. Stonebarger cannot afford to have these procedures performed by a dentist in the United
States and his doctor in Mexico has already completed a significant portion of the work.

7. Mr. Stonebarger has been cooperative throughout this process and has not failed to respond,
call or appear at any time.

8. Counsel for the Government, AUSA Martha Paluch, has no objection to the stipulation.

I declare under penalty of perjury under the laws of the State of Colorado that the foregoing is

true and correct.

DATED: February 28, 2022

 

 
